Case 3:17-cr-00197-TJC-MCR Document110_ Filed 06/25/25 Page 1of 1 PagelD 1007

AO 442 (Rev. 11/11) Arrest Warrant rt ij *

UNITED STATES DISTRICT COURT

for the

Middle Districtof Florida

United States of America = =

V. )

) Case No. 3:17-cr-197-TJC-MCR
)
)
)
John Robert Horner )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) John Robert Horner

who is accused of an offense or violation based on the following document filed with the court:

C] Indictment LJ Superseding Indictment C1) Information LJ Superseding Information (J Complaint

C] Probation Violation Petition &] Supervised Release Violation Petition (0 Violation Notice (J Order of the Court
This offense is briefly described as follows:

See attached Petition.

Date: 4/2) 202

issuing officer's signature

City and state: Da Ck se i | e Me Flor l ds ELIZABETH M, WARREN

Printed name and title

Return

This warran nt was received on (date) b/- s fix: A , and the person was arrested on (date) 6/ ay / AT
at (city and state) } Aa. fA. bh t

Date: i [2 S fas Le § Cp as

Arresting offi feat ’s signature

RP. OLIVAS DosSmM

Printed name and title

